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                         UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                             MONTGOMERY DIVISION



 LINDA THURMAN, et al.,                         }
                                                }
        Plaintiffs,                             }
                                                }
 v.                                             }   Case No.: 2:12-cv-00724-RDP-TFM
                                                }
 JUDICIAL CORRECTION SERVICES,                  }
 INC., et al.,                                  }
                                                }
        Defendants.                             }



                                      NOTICE OF APPEAL

       Notice is hereby given that Linda Thurman, et al., Plaintiffs in the above named case,

hereby appeal to the United States Court of Appeals for the Eleventh Circuit from the District

Court’s grant of summary judgment in favor of the Defendants, Judicial Correction Services, Inc.

(Doc. 164) (for reasons explained in the Memorandum Opinion (Doc. 163)) entered in this action

on the 13th day of September, 2017.

              Respectfully submitted this 5th day of October, 2017.




                                                    /s/ William Lewis Garrison, Jr.
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                                 CERTIFICATE OF SERVICE

        I certify that I caused a copy of the above and foregoing to be served on all counsel of
record, via the Court’s ECF filing system, this 5th day of October, 2017.


                                                     /s/ William Lewis Garrison, Jr.
                                                     William Lewis Garrison, Jr.
